         Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 1 of 7




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and has been
so employed since January 2016. I am assisting in the investigation and prosecution of events that
occurred at the United States Capitol on January 6, 2021. As a Special Agent with the FBI, I am
authorized by law or by a Government agency to engage in or supervise the investigation of
violations of Federal criminal laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol
Police. Restrictions around the U.S. Capitol include permanent and temporary security barriers
and posts manned by U.S. Capitol Police. Only authorized people with appropriate identification
are allowed access inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S.
Capitol was also closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
         Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 2 of 7




        On January 6, 2021, multiple photographs and videos were posted to a Facebook account
in the name “Jake Hiles” (hereinafter “the Facebook account”) showing an individual identified as
JACOB G. HILES participating in unlawfully entering the U.S. Capitol on January 6, 2021. As
discussed further below, these videos and pictures include “selfie” style footage from areas your
affiant recognizes as both inside and outside the U.S. Capitol, sometimes including geo-tags
identifying the location of the post as “Capitol Hill” or “United States Capitol” and accompanied
by captions written in the first person. Visible in the photographs and videos is a bearded individual
wearing a dark in color sweatshirt bearing the words “FUCK ANTIFA,” a tan in color neck gaiter,
baseball cap, and tan in color goggles. The FBI interviewed W-1, who has known HILES for over
five years and periodically interacts with HILES in-person. On January 6, 2021, multiple Facebook
friends of W-1 shared videos and photographs from HILES’ Facebook page on W-1’s Facebook
page. W-1 positively identified HILES as the individual depicted in the two “selfie” style videos
posted to HILES’ account on January 6, 2021, further described below (Figure 3 and Figure 5).

        Your affiant has reviewed numerous pictures and videos posted to the Facebook account,
as well as another social media account. The videos and pictures I observed show the following:

   •   On January 6, 2021, a picture of an individual was posted to the Facebook account
       accompanied by timestamp 5:46 AM and the caption, “Feelin cute…might start a
       revolution later, IDK – in Capitol Hill” (see Figure 1 below). Your affiant knows “IDK” to
       stand for “I don’t know.”
   •   On January 6, 2021, a post to the Facebook account accompanied by timestamp 1:31 PM
       stated, “After being tear gassed for an hour, we entered the capitol, thousands of us. The
       fbi shot and killed a woman in front of us. We followed the trail of her blood out of the
       building” (see Figure 2 below).
   •   In a post timestamped 4:36 PM on January 6, 2021, a video was posted to the Facebook
       account appearing to show HILES outside a building your affiant recognizes as the U.S.
       Capitol. In the video, HILES explains his frustration to the camera and to others near him
       with respect to his assertion that the media was ignoring the fact that the FBI purportedly
       shot and killed a woman inside the building (see Figure 3 below).
   •   In the evening hours of January 6, 2021, a post to the Facebook account stated, “I’m not a
       smoker AT ALL, but when the cop asks you if you are gonna hit that, I ain’t gonna let it
       g…” Attached to this post was a “selfie” style video of HILES inside the U.S. Capitol
       building with a group of people. In the video, HILES appears to smoke an unidentified
       substance (see Figures 4 and 5 below).
   •   In the evening hours of January 6, 2021, a photograph was posted to the Facebook account
       appearing to show HILES inside the U.S. Capitol Building (see Figure 6 below).
        Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 3 of 7




                                             Figure 1
       The photograph and commentary pictured in Figure 1 was posted to the Facebook account
on January 6, 2021.




                                             Figure 2
         Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 4 of 7




        According to a post to the Facebook account, on January 6, 2021, HILES was tear gassed
for an hour, then entered the U.S. Capitol Building, then followed a trail of blood as he exited the
U.S. Capitol Building.




                                             Figure 3
        On January 6, 2021, a video of an individual outside the U.S. Capitol Building was posted
to the Facebook account of an individual identified by W-1 as HILES wearing goggles in an area
your affiant recognizes as surrounding the U.S. Capitol. Figure 3 is a screenshot of the video posted
to the Facebook page.
         Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 5 of 7




       Figure 4                                             Figure 5


        On January 6, 2021, a post was made on the Facebook account stating, “I’m not a smoker
AT ALL, but when the cop asks you if you are gonna hit that, I ain’t gonna let it g…” Figure 4 is
a screenshot of the post. Accompanying the post in which is referenced taking a “hit” is a video of
an individual inside the U.S. Capitol building with a group of people. In the video, an individual
identified by W-1 as HILES can be seen smoking an unidentified substance. Figure 5 is a snapshot
of the video posted to the Facebook account.
         Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 6 of 7




                                             Figure 6


       On January 6, 2021, a “selfie” style photograph was posted to the Facebook account of an
individual wearing the same goggles and gaiter as pictures previously identified as HILES in an
area your affiant recognizes as inside the U.S. Capitol Building. Based on numerous photographs
and videos your affiant has reviewed, it is your affiant’s belief that the individual pictured in
Figure 6 is HILES.
        Your affiant has confirmed the identification of HILES as the person in the images and
videos described above and posted on January 6, 2021. First, as noted above, W-1, who
personally knows HILES, positively identified him in two of the videos from the Facebook
account. The images and videos display unique attire and, in some instances, a clear view of the
individual’s face. Your affiant has also reviewed HILES’ Virginia driver’s license photograph
and profile picture for the Facebook account in the name of “Jake Hiles” and they appear to be
the same individual in the pictures at the U.S. Capitol on January 6, 2021. Your affiant also
viewed multiple open source videos on the website www.youtube.com, in which an individual
identifies himself as “Jake Hiles.” In one of the videos, the individual who identified himself as
“Jake Hiles” appears to be wearing the same hat as pictured in Figure 1 above. The person in
those videos appears to be the same individual in the pictures at the U.S. Capitol on January 6,
2021.
       Following January 6, 2021, a post to HILES’ Facebook account included lengthy first-
person commentary on what was seen and experienced at the U.S. Capitol on January 6, 2021. The
post included the statement, “While under the rotunda, I never saw anyone touch or vandalize
          Case 1:21-mj-00070-ZMF Document 1-1 Filed 01/15/21 Page 7 of 7




 anything and I distinctly heard several people saying ‘look but don’t touch.’” You affiant believes
 the “rotunda” referenced in HILES’ post is the rotunda located inside the U.S. Capitol Building.
 HILES also included in his Facebook post “I was walking past offices, and one office clearly above
 the door said “Office of Majority Leader Steny Hoyer.”” The post also indicated that the writer
 was in the front row of individuals outside the Capitol, “the crowd pushed [him] to the top of the
 steps” and once he had entered the Capitol, he just wanted to leave.
         Based on the foregoing, your affiant submits that there is probable cause to believe that
 JACOB G. HILES violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
 knowingly enter or remain in any restricted building or grounds without lawful authority to do;
 and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
 business or official functions, engage in disorderly or disruptive conduct in, or within such
 proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
 disrupts the orderly conduct of Government business or official functions; or attempts or conspires
 to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
 cordoned off, or otherwise restricted area of a building or grounds where the President or other
 person protected by the Secret Service, including the Vice President, is or will be temporarily
 visiting; or any building or grounds so restricted in conjunction with an event designated as a
 special event of national significance.

         Your affiant submits there is also probable cause to believe that HILES violated 40 U.S.C.
 § 5104(e)(2)(G), which makes it a crime to willfully and knowingly parade, demonstrate, or picket
 in any of the Capitol Buildings.




                                                    _________________________________
                                                    Brandon C. Merriman
                                                    Special Agent
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of January 2021.                                    Zia M. Faruqui
                                                                             2021.01.15
                                                                             16:10:15 -05'00'
                                                      ___________________________________
                                                      Zia M. Faruqui
                                                      U.S. MAGISTRATE JUDGE
